No. 5:25-bk-00087       Doc 23     Filed 03/04/25      Entered 03/04/25 18:11:20        Page 1 of 8

                    IN THE UNITED STATES BANKRUPTCY COURT
                  FOR THE NORTHERN DISTRICT OF WEST VIRGINIA



 IN RE:                                              Bankruptcy No.

 HEART 2 HEART VOLUNTEERS, INC. Chapter 11
 d/b/a SERENITY HILLS LIFE CENTER

            Debtor.



 HEART 2 HEART VOLUNTEERS, INC.
 d/b/a SERENITY HILLS LIFE CENTER,

       Movant,
      v.
 NO RESPONDENTS.


EXPEDITED MOTION FOR ORDER TO AUTHORIZE PAYMENT OF PREPETITION
                            WAGES

       Heart 2 Heart Volunteers, Inc., LLC (the “Debtor”), by and through it is undersigned

proposed counsel, Bernstein-Burkley, P.C., hereby files this Expedited Motion for Order to

Authorize Payment of Prepetition Wages (the “Motion”), and in support thereof, avers as follows:

                                 JURISDICTION AND VENUE

       1.       The United States Bankruptcy Court for the Northern District of West Virginia (this

“Court”) has jurisdiction over this Motion pursuant to 28 U.S.C. §§ 157 and 1334. Venue is proper

pursuant to 28 U.S.C. §§ 1408 and 1409.

       2.       This matter is a “core” proceeding pursuant to 28 U.S.C. § 157(b)(2).

                                        BACKGROUND

       3.       On February 27, 2025 (“Petition Date”), the Debtor filed a voluntary petition for

relief under chapter 11 of title 11 of the United States Code, 11 U.S.C. §§ 101 et seq. (as amended,
                                                 1
No. 5:25-bk-00087       Doc 23     Filed 03/04/25     Entered 03/04/25 18:11:20        Page 2 of 8

the “Bankruptcy Code”) in the United States Bankruptcy Court for the Northern District of West

Virginia (the “Court”) commencing case number 24-bk-22610 (the “Bankruptcy Case”).

       4.      The Debtor is a substance abuse recovery provider that has a principal place of

business located at 667 Stone Shannon Road, Wheeling, WV 26003. Presently, the Debtor’s

employees solely provide substance abuse recovery treatment, as well as treatment for sober living.

       5.      The Debtor continues to manage and operate its business as a debtor-in-possession

pursuant to Section 1107(a), 1108, and 1116 of the Bankruptcy Code.

       6.      As of the Petition Date, the Debtor employs a workforce of approximately thirty-

one (31) individuals paid on an hourly basis. These employees include various therapists, nurses,

mental health technicians and support staff, kitchen staff, office support staff, cleaning staff, and

maintenance staff (the “Employees”). In addition to the Employees, the Debtor also employs three

(3) individuals on a salaried basis. These employees include a medical director, the in-house

accountant who also serves on the Board of Directors, and the CEO who also serves on the Board

of Directors (the “Administrative Staff”).

       7.      In the ordinary course of business, the Debtor issues payments for wages of the

Employees.

       8.      The next scheduled payday is March 7, 2025 for Employees. The March 7, 2025,

payroll is for the pay period February 17, 2025 through March 2, 2025. A true and correct copy of

the Debtor’s next scheduled payroll is attached as Exhibit A.

       9.      The payroll to be paid on March 7, 2025 includes all wages from the February 17,

2025 through March 2, 2025.

       10.     The next scheduled payday for the Administrative Staff is March 12, 2025. The

March 12, 2025 payroll is for the pay period of February 17, 2025 through March 2, 2025.



                                                 2
No. 5:25-bk-00087       Doc 23     Filed 03/04/25     Entered 03/04/25 18:11:20         Page 3 of 8

       11.     The Debtor completes the payroll for the Employees on a different date than the

Administrative Staff to ensure all hourly Employees are compensated on schedule and lessen the

financial burden making such a large payroll naturally occurs for a business.

       12.     The Employees and Administrative Staff estimated total prepetition gross wages

are $58,946.18, with an additional $6,435.93 in federal, state, local, and delinquent taxes. The total

payroll expense for March 7, 2025 and the March 12, 2025 payroll is $65,382.11. The Debtor will

confidentially provide additional employee information, including the exact wages, to parties

entitled thereto upon request.

       13.     Debtor’s principal owner is included in the Administrative Staff payroll.

       14.     If no Objection is filed by March 6, 2025 at 9:00 AM, Debtor will issue the March

7, 2025 payroll and the March 12, 2025 payroll, including the prepetition amount.

       15.     The Employees and Administrative Staff perform a variety of critical functions for

the Debtor and the Debtor’s business, processes, and systems. The Employees’ knowledge and

understanding of the Debtor’s business and its operations are essential to the continued operation

of the Debtor’s business in this chapter 11 case. Without the continued, uninterrupted services of

the Employees and the Administrative Staff, the Debtor’s business operations will be halted, and

the administration of the estate will be materially impaired.

                                     RELIEF REQUESTED

       16.     The Debtor requests the entry of an order, substantially in the form of the proposed

order (i) authorizing, but not directing, the Debtor to (a) pay the Employees’ prepetition wages,

salaries, and other compensation; (b) pay the Administrative Staff’s prepetition wages, salaries,

and other compensation; and (c) continue employee benefits programs in the ordinary course,




                                                  3
No. 5:25-bk-00087       Doc 23      Filed 03/04/25      Entered 03/04/25 18:11:20        Page 4 of 8

including payment of certain prepetition obligations related thereto; and (ii) granting any related

relief the Court deems just and proper.

                                       BASIS FOR RELIEF

        17.     The Bankruptcy Code provides various grounds for the relief requested herein by

the Debtor. Relief sought herein is appropriate pursuant to sections 507(a)(4), 541(d), and

105(a) of the Bankruptcy Code.

A.      Section 507(a)(4) of the Bankruptcy Code

        18.      Pursuant to section 507(a)(4) of the Bankruptcy Code, employees are given a

fourth level priority claim and distribution for wages earned within 180 days of the Petition Date,

up to $15,150 per employee.

        19.     Section 507 provides priority for “wages, salaries, or commissions, including

vacation, severance, and sick leave pay earned by an individual.” 11 U.S.C. § 507(a)(4)(A).

        20.     The payrolls is for the Employee’s wages earned prepetition. The Employees of the

Debtor are entitled to priority for the full amount of their wages and benefits for this period as no

individual Employee is owed prepetition wages in excess of $15,150 for the subject pay periods.

        21.     To the extent prepetition claims for employee wages and taxes, which would be

accorded priority under the Bankruptcy Code, are paid pursuant to this Motion, such payment

will reduce that creditor’s priority claim against the estate.

        22.     Therefore, the Employees’ prepetition wages are entitled to priority and the Debtor

should be granted relief to pay this prepetition obligation.

B.      Section 541 of the Bankruptcy Code

        23.     Section 541 of the Bankruptcy Code indicates as follows:

                Property in which the debtor holds, as of the commencement of the case, only legal
                title and not an equitable interest, such as a mortgage secured by real property, or an
                interest in such a mortgage, sold by the debtor but as to which the debtor retains

                                                   4
No. 5:25-bk-00087      Doc 23      Filed 03/04/25      Entered 03/04/25 18:11:20         Page 5 of 8

               legal title to service or supervise the servicing of such mortgage or interest,
               becomes property of the estate under subsection (a)(1) or (2) of this section only
               to the extent of the debtor's legal title to such property, but not to the extent of any
               equitable interest in such property that the debtor does not hold.

 11 U.S.C. § 541(d).


       24.     Property that is held in trust for the benefit of another does not constitute property

of the estate within the meaning of Section 541. See In re Columbia Gas Sys., 997 F.2d 1039 (3d.

Cir. 1993).

       25.     In the normal course of its business, the Debtor is also responsible for the payment

of payroll taxes on employee wages (the “Taxes”).

       26.     The Taxes held by the Debtor for the Employees do not constitute property of the

estate. See In re Calabrese, 689 F.3d 312, 321 (3d Cir. 2012) (recognizing that “taxes required to

be withheld by an employer under the Federal Insurance Contributions Act, 26 U.S.C. § 3102(a),

are held in trust”); see also City of Farrell v. Sharon Steel Corp., 41 F.3d 91, 99 (3d Cir. 1994)

(holding that by virtue of holding income taxes, a trust was created under Pennsylvania law).

       27.     Allowing the Debtor to pay the prepetition Employees and Administrative Staff

wages and Taxes is appropriate as the Taxes included in the Employee’s and Administrative

Staff’s wages are held in trust by the Debtor and therefore such funds do not constitute as an

asset of the estate. The payment of the Employees’ and Administrative Staff’s prepetition wages

and Taxes will not diminish the Debtor’s estate.

C.     Section 105 of the Bankruptcy Code

       28.     Pursuant to Section 105 of the Bankruptcy Code, the Bankruptcy Court has the

equitable power to authorize the payments of the Employees’ prepetition wages because it is

essential for the Debtor’s ongoing operations. See In re Columbia Gas Sys., Inc., 136 B.R. 930, 939

(Bankr. D. Del. 1992); In re Ionosphere Clubs, Inc., 98 B.R. 174, 176 (Bankr. S.D.N.Y. 1989).

                                                   5
No. 5:25-bk-00087       Doc 23     Filed 03/04/25     Entered 03/04/25 18:11:20         Page 6 of 8

          29.   Section 105(a) of the Bankruptcy Code grants broad authority and discretion to

enforce the provisions of the Bankruptcy Code pursuant to statutory scheme or equitable principles.

Under the “doctrine of necessity,” several courts have allowed for the authorization of pre-petition

obligations, where payment is an essential element to preserve the value of the debtor’s estate. See

In re CoServ, LLC, 273 B.R. 487, 497 (Bankr. N. D. Tex. 2002) (“[t]hese are simply examples of

claims that may require satisfaction for the debtor in possession to perform its fiduciary

obligations. In such instances it is only logical that the bankruptcy court be able to use Section

105(a) of the Code to authorize satisfaction of the prepetition claim in aid of preservation or

enhancement of the estate.”); see also In re NVR L.P, 147 B.R. 126, 127 (Bankr. E.D. Va. 1992)

(“Section 105(a) of the Bankruptcy Code empowers the court to ‘issue any order, process or

judgment that is necessary or appropriate to carry out the provisions of this title.’ 11 U.S.C. § 105.

Under 11 U.S.C. § 105 the court can permit pre-plan payment of a pre-petition obligation when

essential to the continued operation of the debtor.’”) (citing In re Ionosphere Clubs, Inc., 98 Bankr.

174, 177 (Bankr. S.D.N.Y. 1989)).

          30.   Failure to provide payment for prepetition wages will be detrimental to the

Employees and Administrative Staff and will cause a disruption in the Debtor’s ongoing operations

and efforts to reorganize through this Bankruptcy Case. Certainly, these Employees and

Administrative Staff are critical to the Debtor’s business operations. Without dedicated and skilled

individuals caring for the patients in the Debtor’s care, the Debtor cannot take in and/or house

current patients. This will inhibit the Debtor’s ability to make income and harm the restructuring

effort.




                                                  6
No. 5:25-bk-00087        Doc 23     Filed 03/04/25       Entered 03/04/25 18:11:20          Page 7 of 8

        31.     The Court has the authority to authorize the payment of the prepetition Employees

wages and Taxes as it is appropriate and necessary in order to carry out the provisions set forth in

the Bankruptcy Code.

              REQUEST FOR IMMEDIATE RELIEF AND WAIVER OF STAY

        32.     Bankruptcy Rule 6004(h) provides that “[a]n order authorizing the use, sale, or

lease of property other than cash collateral is stayed until the expiration of 14 days after entry of

the order, unless the court orders otherwise.”

        33.     Bankruptcy Rule 6003(b) provides, in pertinent part, that “[e]xcept to the extent

that relief is necessary to avoid immediate and irreparable harm, the court shall not, within 21 days

after the filing of the petition, grant relief regarding . . . a motion to pay all or part of a claim that

arose before the filing of the petition.”

        34.     The Debtor seeks immediate entry of an order granting the relief sought herein and

a waiver of any stay of the effectiveness of such an order as failure to provide such relief will result

in the irreparable harm to the Debtor’s estate. See In re Ames Dep’t Stores, Inc., 115 B.R. 34, 36

n. 2 (Bankr. S.D.N.Y. 1990) (holding that the “immediate and irreparable harm” exists where loss

of the business threatens ability of the Debtor to reorganize).

        35.     The relief sought herein is essential to prevent the disruption of the Debtor’s ongoing

operations.

                                       NO PRIOR REQUEST

        36.     No prior request for the relief sought herein has been made by Debtor in this Court

or any other court.




                                                    7
No. 5:25-bk-00087       Doc 23     Filed 03/04/25     Entered 03/04/25 18:11:20         Page 8 of 8

                                             NOTICE

       37.     The Debtor will provide notice of this motion by facsimile, e-mail, overnight

delivery, or hand delivery to: (i) the Office of the United States Trustee for the Northern District

of West Virginia; (ii) the holders of the 20 largest unsecured claims against the Debtor on a

consolidated basis; and (iii) the Internal Revenue Service; (iv) the West Virginia Department of

Revenue; (v) the West Virginia Department of Environmental Protection; (vi) the Tax Division of

the State of West Virginia; and (vii) all parties requesting notice pursuant to Rule 2002 of the

Federal Rules of Bankruptcy Procedure.

       38.     As this motion is seeking expedited relief, notice of this motion and any order

entered hereon will be served on all parties required by the Local Rules. Due to the urgency of the

relief requested, the Debtor submits that no other or further notice is necessary

       WHEREFORE, the Debtor respectfully requests entry of an order, substantially in the form

of the proposed order, authorizing the Debtor to pay the Employee’s and Administrative Staff’s

prepetition wages and Taxes and granting such other relief as may be just and proper.



Dated: March 4, 2025                                  Respectfully submitted,
                                                      BERNSTEIN-BURKLEY, P.C.

                                                      /s/ Kirk B. Burkley______________
                                                      Kirk B. Burkley (WV ID No. 11767)
                                                      601 Grant Street, 9th Floor
                                                      Pittsburgh, PA 15219-1900
                                                      Telephone: (412) 456-8100
                                                      Facsimile: (412) 456-8135
                                                      Email: kburkley@bernsteinaw.com

                                                      Proposed Attorneys for the Debtor




                                                 8
